Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 1 of 16




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                 )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )         Case No.      09-CR-043-SPF
                                           )
 LINDSEY KENT SPRINGER,                    )
 OSCAR AMOS STILLEY,                       )
                                           )
                     Defendants.           )

        UNITED STATES’ CONSOLIDATED RESPONSE IN OPPOSITION TO
     DEFENDANT SPRINGER’S MOTION TO DISQUALIFY, RECUSE, REMOVAL
      AND RANDOM ASSIGNMENT, AND TITLE 28, SECTION 144 AFFIDAVIT
        OF LINDSEY KENT SPRINGER REGARDING BIAS AND PREJUDICE
                  (DOCUMENT NUMBERS 270, 271 AND 272)

       The United States of America, by and through its attorneys, Thomas Scott

 Woodward, Acting United States Attorney for the Northern District of Oklahoma, and

 Kenneth P. Snoke, Assistant United States Attorney, and Charles A. O’Reilly, Special

 Assistant United States Attorney, hereby responds in opposition to Defendant Lindsey

 Kent Springer’s Motion, and Brief/Memorandum in Support of Motion, to Disqualify,

 Recuse, Removal and Random Assignment (doc. nos. 271 and 272). The United States

 also responds in opposition to Defendant Springer’s Title 28, Section 144 Affidavit of

 Lindsey Kent Springer Regarding Bias and Prejudice (doc. no. 270). Defendant

 continues to assert frivolous arguments, many which this Court previously rejected.
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 2 of 16




        Defendant appears to be arguing that not only the Honorable Stephen P. Friot,

 District Court Judge, must be recused, but also the Honorable Claire V. Eagan, Chief

 Judge.1 However, Defendant provides no basis for abrogating the appointment of the

 Honorable Judge Friot to handle this matter. Furthermore, nowhere in Defendant’s

 twenty-five page affidavit or thirty-two pages of motion and supporting brief does

 Defendant identify any facts supporting a finding of personal bias or prejudice by either

 judicial officer against Defendant or in favor of any adverse party.

 I.     Defendant Provides No Legal Basis for Abrogating the Honorable
        District Judge Stephen P. Friot’ Assignment to Handle This Matter

        In a repeat of Defendant’s “Motion for Clarification with Respect to Specific

 Legal Authority for Appointment of Judge in Trial in Instant Case” (doc. no. 30), which

 this Court previously and appropriately handled, and in Defendant’s Motion for New

 Trial (doc. no. 262), Defendant again challenges the statutes, rules and procedures under

 which the Honorable Judge Friot was appointed to preside over the trial of this case. See

 Minute Order dated March 31, 2009, doc. no. 24. The Government’s response to

 Defendant’s earlier motion for clarification, doc. no. 42, included an attached copy of the

 Tenth Circuit’s “Designation of District Judges for Service in Other District’s within the


        1
                  Defendant’s motion is confusing in that the title of Defendant’s supporting brief
 identifies only the Honorable Judge Friot. Also, nowhere in Defendant’s motion (doc. no. 271)
 does Defendant assert that the Chief Judge should have been recused. However, Defendant
 argues that the Honorable Chief Judge Eagan “should have recused herself from any
 involvement with this case including who would be the judge” (doc. no. 272 at 15). In
 Defendant’s affidavit he further asserts that "[t]here is no question Chief Judge Eagan's
 ‘impartiality' is reasonably questioned." Doc. no. 270 at 11.

                                                 -2-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 3 of 16




 Tenth Circuit,” Tenth Circuit Misc. No. 23, covering the assignment, for the 2009

 calendar year, of, inter alia, the Honorable Judge Friot to the Eastern and Northern

 Judicial Districts of Oklahoma. This order, made pursuant to the provisions of Title 28,

 United States Code Section 292(b), and signed by Chief Judge Robert H. Henry on

 December 30, 2008, is also attached to Defendant’s brief (doc. no. 272) in support of his

 current motion, and is referred to therein as “Misc. # 23.”

        After the Court granted the motion for clarification, and clarified that he was a

 duly appointed district court judge available to try cases in the Northern District of

 Oklahoma during the year 2009 by virtue of the December 30, 2008 order, Defendant

 proceeded to trial in the case without objection to the Honorable Judge Friot. Trial

 commenced in the United States Court for the Northern District of Oklahoma on October

 26, 2009, and concluded with the return of the jury verdicts on November 16, 2009.

        Defendant identifies six “issues presented,” which include questions concerning

 the appointment of Judge Friot in this case. Doc. no. 271. Defendant asks for “recusal

 based upon Stephen P. Friot’s lack of jurisdiction outside the geographical boundaries set

 to his commission at Title 28 Sections 116(c), 132, 133, 134 and 451,” for “removal from

 holding district court in the Northern Oklahoma Judicial District Court in 09-CR-43,” and

 for “ random reassignment by a District Court Judge competent, de jure, and

 commissioned in the United States’ Northern Oklahoma Judicial District.” Doc. no. 271.




                                              -3-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 4 of 16




        First, there is a question of whether, at this point in the litigation, Defendant has

 standing to object to the Honorable Judge Friot’s assignment to handle this case. See

 United States v. Royals, 777 F.2d 1089, 1091 (5 th Cir. 1985), citing McDowell v. United

 States, 159 U.S. 596, 601 (1895); Reynolds v. Lentz, 243 F.2d 589, 590 (9 th Cir.), cert

 denied, 354 U.S. 939 (1957). See also Ball v. United States, 140 U.S. 118 (1891), and Ex

 Parte Ward, 173 U.S. 452 (1899).2

        Second, the Chief Judge of a Circuit is empowered to designate and assign

 temporarily any district judge of the circuit to hold a district court in any district within

 the circuit. 28 U.S.C. § 292(b). Title 28, United States Code Section 296 provides

 further that a judge sitting by designation shall have all the powers of a judge of the

 district to which he is designated and assigned. Furthermore, Section 137 of Title 28

 provides, in pertinent part:

               The business of a court having more than one judge shall be
               divided among the judges as provided by the rules and orders
               of the court.

               The chief judge of the district court shall be responsible for
               the observance of such rules and orders, and shall divide the
               business and assign the cases so far as such rules and orders
               do not otherwise prescribe.




        2
                 In Nguyen v. United States, 539 U.S. 69 (2003), the Supreme Court allowed a
 defendant standing to challenge the composition of a three judge appeals court which, contrary to
 statute, included an Article IV judge. Defendant’s case is factually and legally more similar to
 McDowell and Royals than to Nguyen. See Nguyen, 539 U.S. at 77.

                                                -4-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 5 of 16




        Additionally, district judges have the inherent power to transfer cases from one to

 another for the expeditious administration of justice. United States v. Martinez, 686 F.2d

 334 (5 th Cir. 1982); United States v. Stone, 411 F.2d 597 (5 th Cir. 1969); United States v.

 Keane, 375 F.Supp. 1201 (N.D. Ill. 1974).

        This case was initially assigned court procedures to the Honorable James H. Payne,

 District Court Judge. On March 18, 2009, the Honorable Judge Payne issued a minute

 order stating “due to Court conflict, recusing Judge James H. Payne, this case is hereby

 returned to the Court Clerk for further reassignment, Court Clerk reassigned case as to

 Lindsey Kent Springer, Oscar Amos Stilley.” Doc. no. 9. The only reason for the recusal

 set forth in the order is “Court conflict.” However, given that the Honorable Judge Payne

 was the only sitting judge in the Northern District of Oklahoma not assigned to one of

 Defendant’s civil lawsuits, the recusal appears to have been independent of Defendant.3


        3
                 The United States notes that Judge Payne served on a review panel that considered
 the qualifications of Defendant Oscar Stilley to continue as a member of the Bar of the Northern
 District of Oklahoma. That panel ultimately ruled against Defendant Stilley. This is the only
 basis for a conflict of interest with respect to Judge Payne of which the United States is aware
 with respect to United States v. Springer et al., 09-CR-043. Each of the other three sitting
 judges in the Northern District of Oklahoma also participated in hearings on, and with,
 Defendant Stilley concerning his continued right to practice as a member of the Northern District
 of Oklahoma Bar. Thus, had the Court Clerk attempted to reassign the case to another Northern
 District of Oklahoma judge, such an attempt would have been unavailing. It appears that the
 Chief Judge and the Court Clerk of the Northern District of Oklahoma had to find a judge who
 clearly had no conflict of interest with respect to Defendant Stilley, necessitating going outside
 the Northern District of Oklahoma judiciary for an Article III judge who would accept
 assignment of the case, “for the expeditious administration of justice.” Even if Judge Payne
 recused himself for another reason, the three remaining sitting judges in the Northern District of
 Oklahoma had a reason to recuse themselves based upon their previous hearings and rulings in
 connection with Defendant Stilley.


                                                -5-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 6 of 16




        Irrespective of the reasons for the Honorable Judge Payne’s recusal, the Honorable

 Chief Judge Eagan correctly and appropriately reassigned the case to the Honorable Judge

 Friot, based on her authority pursuant to 28 U.S.C. §§ 292(b) and 137, plus her inherent

 authority as an Article III judge. In his motion, Defendant neither demonstrates, nor even

 alleges, any prejudice from the assignment of Judge Friot. Even assuming that one of the

 remaining sitting judges was available for the case, “rules of court are not that arbitrary

 and inflexible. If there is a conflict between the rules and the statutes, the statutes must

 prevail.” United States v. Amsler, 381 F.2d 37, 42-43 (9 th Cir. 1967).

               The purposes of § 292 and 296 are to aid litigants to avoid
               that of which defendants in criminal cases complain most
               loudly – delays in trial. To accomplish this, and to make the
               work load more even throughout the country, was the purpose
               behind the legislation. To aid in the accomplishment of that
               purpose, we should, where construction is necessary, liberally
               construe the statutes.

 Leary v. United States, 268 F.2d 623, 626 (9 th Cir. 1959) (footnote and citations omitted).

        Further, Defendant neither cites, nor is there any authority for, the proposition that

 the Constitution requires the “randomness” that utilizing Local Civil Rule 40.1, would

 provide. See United States v. Claiborne, 870 F.2d 1463, 1467 (9 th Cir. 1989).

        Defendant contends that Tenth Circuit Miscellaneous Order # 23 is not lawful

 under 28 U.S.C. § 292(b), but again Defendant’s contention is without support. Clearly,

 Miscellaneous Order # 23 comports with 28 U.S.C. § 292(b). Section 292 of Title 28

 provides:

                                               -6-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 7 of 16




               The chief judge of a circuit may, in the public interest,
               designate and assign temporarily any district judge of the
               circuit to hold a district court in any district within the circuit.

 Miscellaneous Order # 23 states, in pertinent part:

               Pursuant to provisions of Title 28, United States Code
               § 292(b), I designate and assign the following United States
               District Judges in the Tenth Circuit to hold court in the
               Districts listed opposite their names, from January 1, 2009,
               through December 31, 2009, and for any time in advance to
               prepare for the trial of cases, or as may be required to
               complete unfinished business:
                                               ...
               Stephen P. Friot – Eastern and Northern Districts of
               Oklahoma.

 Nothing in Section 292(b) of Title 28 requires, or even implies, that a separate

 designation or assignment must be made for each specific case during the temporary time

 period set forth.

        Defendant was not deprived of due process or any of his Constitutional rights, by

 being tried by the Honorable Judge Friot. Defendant was tried in the district (and state)

 where the alleged crime was committed, as required by Article III, Section 2 of the

 Constitution of the United States. Pursuant to Section 292(b), the case was tried before

 an Article III District Court Judge from the Western District of Oklahoma, on assignment

 by the Chief Judge of the Tenth Circuit. Defendant claims that because the trial judge

 was from the Western District of Oklahoma, Defendant did not receive a trial pursuant to

 Article III, Section 2. This claim is absurd; the personnel of the court is distinguishable

 from the court’s territorial limits. As stated in Amsler v. United States, 381 F.2d at 42:

                                               -7-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 8 of 16




               We find nothing inconsistent between the provision that a
               district judge, resident and appointee of one district, may be
               assigned under statutory authority to a different district in the
               same circuit, and the constitutional requirement that a
               criminal case be tried within the territorial limits of the state
               where the crime was committed. (citations omitted).

        If, by his argument, Defendant is challenging jurisdiction based on the fact that his

 trial was presided over by the Honorable Judge Friot, then such a challenge must again

 fail. “[J]urisdiction is lodged in a court, not in a person. The judge, exercising the

 jurisdiction, acts for the court.” United States v. Teresi, 484 F.2d 894, 898 (7 th Cir. 1973),

 quoting In re Brown, 346 F.2d 903, 910 (5 th Cir. 1965).

        To the extent that Defendant is arguing that his trial was retroactively rendered

 unconstitutional by the Honorable Judge Friot presiding over it, such an argument also

 fails. Furthermore, even if Defendant’s argument that the Honorable Judge Friot was

 improperly appointed had any merit, the de facto officer doctrine would apply to the

 designation of the Honorable Judge Friot to preside over Springer’s trial in this district.4

 See Ryder v. United States, 515 U.S. 177, 180 (1995). Glidden Co. v. Zdanok, 370 U.S.

 530, 535 (1962) (plurality opinion). McDowell v. United States, 159 U.S. at 601-02



        4
         The de facto doctrine “prevent[s] litigants from abiding in the outcome of a lawsuit and
 then overturning it if adverse upon a technicality of which they were previously aware.” Glidden
 Co. v. Zdanok, 370 U.S. at 535 (plurality opinion). As the Supreme Court said in Roell v.
 Withrow:

        examples of such “technicalities” are defects in the judge’s appointment or
        designation. See e.g., Ex parte Ward, 173 U.S. 452, 456 (1899) (judge improperly
        appointed during a Senate recess) . . .. 538 U.S. 580, 598 (2003).

                                               -8-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 9 of 16




 (1895), Ball v. United States, 140 U.S. at 128-29 (assigned judge had de facto authority to

 replace a deceased judge even though he had been designated to replaced a disabled

 judge). This is especially true, as noted in McDowell, where the judge whose assignment

 is being questioned was otherwise qualified to serve because he was a judge of the United

 States District Court, having all the powers attached to such office, and because the

 circuit judge was otherwise empowered to designate him. 159 U.S. at 601. Thus, even if

 there was a defect in the appointment of the Honorable Judge Friot pursuant to Title 28,

 U.S.C. § 292(b), he was, while presiding over the trial in this case, at least a judge de

 facto. As the Court said in McDowell:

               Whatever doubt there may be as to the power of designation
               attaching in this particular emergency, the fact is that Judge
               Seymour was acting by virtue of an appointment regular on its
               face, and the rule is well settled that where there is an office
               to be filled, and one, acting under color of authority, fills the
               office and discharges his duty, his actions are those of an
               officer de facto, and binding on the public. 159 U.S. at
               601-02.

 See also Leary v. United States, 268 F.2d at 627-28.

        Because the Honorable Judge Friot was properly appointed pursuant to 28 U.S.C.

 §§ 292(b) and 296, and under Tenth Circuit Miscellaneous Order # 23, his conducting of

 the trial of defendant Springer in this case in the Northern District of Oklahoma, was

 Constitutionally and statutorily sound, and by statute the Honorable Judge Friot may:

               [n]otwithstanding his absence from such district or circuit or
               the expiration of the period of his designation and assignment,
               decide or join in the decision and final disposition of all

                                              -9-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 10 of 16




                matters submitted to him during such period and in the
                consideration and disposition of applications for rehearing or
                further proceedings in such matters. 28 U.S.C. § 296.

  II.    Defendant’s Factual Allegations Do Not Warrant
         Recusal for Bias or Prejudice

         In the first ten pages of Defendant’s affidavit, he recites forty-seven paragraphs of

  “Facts Relevant to Bias and Prejudice” listing a variety of alleged facts dating from

  May 29, 1985, up to and through December 15, 2009. None of the alleged facts

  demonstrate personal bias or prejudice against Defendant, or in favor of any adverse

  party, as required by 28 U.S.C. § 144. However, the United States notes that among the

  misrepresentations made by Defendant is the assertion that “[o]n December 4, 2009,

  Mr. Snoke entered his appearance in 09-5165 on behalf of Stephen P. Friot in 09-5165.”

  Doc. no. 270 at 9. Contrary to Defendant’s assertion, Assistant U.S. Attorney Snoke

  entered his appearance on behalf of the United States. Attachment A.

         Pursuant to 28 U.S.C. § 455, “(a) Any justice, judge, or magistrate judge of the

  United States shall disqualify himself in any proceeding in which his impartiality might

  reasonably be questioned. (b) He shall also disqualify himself in the following

  circumstances: (1) Where he has a personal bias or prejudice concerning a party, or

  personal knowledge of disputed evidentiary facts concerning the proceeding . . .

  28 U.S.C. § 455(a), (b)(1).” Similarly, 28 U.S.C. § 144 provides “[w]henever a party to

  any proceeding in a district court makes and files a timely and sufficient affidavit that the

  judge before whom the matter is pending has a personal bias or prejudice either against

                                               -10-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 11 of 16




  him or in favor of any adverse party, such judge shall proceed no further therein, but

  another judge shall be assigned to hear such proceeding.” 28 U.S.C. §144. The standard

  for recusal under both statutes is the same: “whether a reasonable person with knowledge

  of all the facts would conclude that the judge’s impartiality might reasonably be

  questioned.” Clemens v. U.S. District Court for Central District of California, 428 F.3d

  1175, 1178 (9 th Cir. 2005); Pesnell v. Arsenault, 543 F.3d 1038, 1043 (9 th Cir. 2008).

         Section 144 further provides that “[t]he affidavit shall state the facts and the

  reasons for the belief that bias or prejudice exists, and shall be filed not less than ten days

  before the beginning of the term at which the proceeding is to be heard, or good cause

  shall be shown for failure to file it within such time.”

         In Liteky v. United States, the Supreme Court addressed impartiality, personal bias,

  and prejudice:

                First, judicial rulings alone almost never constitute a valid
                basis for a bias or partiality motion. In and of themselves ...
                they cannot possibly show reliance upon an extrajudicial
                source; and can only in the rarest circumstances evidence the
                degree of favoritism or antagonism required ... when no
                extrajudicial source is involved ... Second, opinions formed
                by the judge on the basis of facts introduced or events
                occurring in the course of the current proceedings, or of prior
                proceedings, do not constitute a basis for a bias or partiality
                motion unless they display a deep-seated favoritism or
                antagonism that would make fair judgment impossible.

  510 U.S. 540, 555 (1994).




                                               -11-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 12 of 16




         “The simple filing of an affidavit does not automatically disqualify a judge. A trial

  judge has as much obligation not to recuse himself when there is no reason to do so as he

  does to recuse himself when the converse is true. An affidavit must comply with § 144

  before it can effectively disqualify a judge.” United States v. Bray, 546 F.2d 851, 857

  (10 th Cir. 1976) (citations omitted). Furthermore, “[d]isqualification under 28 U.S.C.

  § 144 places a substantial burden on the moving party to demonstrate that the judge is not

  impartial, not a burden on the judge to prove that he is impartial.” In re McCarthey, 368

  F.3d 1266, 1269 (10 th Cir. 2004), citing United States v. Burger, 964 F.2d 1065, 1070

  (10 th Cir. 1992). Defendant’s affidavit is both untimely and fails to allege facts

  demonstrating personal bias or prejudice either against Defendant or in favor of the

  United States. Where “the affidavit is insufficient and does not meet the requirements of

  the statute, it is the judge's duty not to disqualify himself.” Antonello v. Wunsch, 500 F.2d

  1260, 1262 (10 th Cir. 1974).

         A.     Defendant’s Filing is Untimely

         “[A] party must raise its claim of a district court's disqualification at the earliest

  possible moment after obtaining knowledge of facts demonstrating the basis for such a

  claim.” Polizzi v. United States, 926 F.2d 1311, 1321 (2 d Cir. 1991), quoting Apple v.

  Jewish Hosp. and Medical Center, 829 F.2d 326, 333 (2 d Cir.1987). Defendant asserts

                that Stephen P. Friot and Chief Judge Claire V. Eagan, were
                biased and prejudicial against Affiant way before the
                indictment was emailed to Affiant on March 10, 2009 and that
                Stephen P. Friot should never have exercised any jurisdiction

                                                -12-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 13 of 16




                in the Northern Oklahoma Judicial District Court. Chief Judge
                Claire V. Eagan and Stephen P. Friot should have never been
                involved in any procedure, judicially or otherwise, in
                09-cr-043 or any other case to which affiant is involved where
                the United States is a party.

  Doc. no. 270 at 25. Section 144 specifically provides that affidavit filed under this

  section “shall be filed not less than ten days before the beginning of the term at which the

  proceeding is to be heard, or good cause shall be shown for failure to file it within such

  time.” Contrary to the time dictates of this statute, Defendant filed the affidavit on

  December 28, 2009, almost nine months after the Honorable Judge Friot was assigned to

  this matter on March 31, 2009. Defendant appears to assert that the United States’

  turning over of a grand jury transcript on October 16, 2009 (more than two weeks prior to

  trial and four weeks prior to that witness’ testimony) constitutes good cause for

  Defendant’s delinquent filing of the affidavit. However, Defendant fails to explain how

  this, or anything else, establishes good cause. Defendant’s delinquent filing, made only

  after he lost at trial, is untimely under Title 28, United States Code Section 144.

         B.     Defendant’s Issues Are Already Presented
                in Defendant’s Motion for New Trial

         Defendant’s attempt to relitigate issues he has already presented is prohibited by

  the doctrine of the law of the case.

                The law of the case doctrine posits that when a court decides
                upon a rule of law, that decision should continue to govern
                the same issues in subsequent stages in the same case.
                Furthermore, when a rule of law has been decided adversely
                to one or more codefendants, the law of the case doctrine

                                               -13-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 14 of 16




                precludes all other codefendants from relitigating the legal
                issue.

  United States v. Parada, 577 F.3d 1275, 1279-80 (10 th Cir. 2009), quoting United States

  v. LaHue, 261 F.3d 993, 1010 (10 th Cir. 2001). Specifically, the Court has already ruled,

  either directly or implicitly, on the following: the Honorable Judge Friot is authorized to

  hear this case; the Honorable Chief Judge Eagan was authorized to assign the Honorable

  Judge Friot to this matter; the Order of the Tenth Circuit dated December 30, 2008,

  assigning enumerated United States District Judges in the Tenth Circuit to hold court in

  specified districts “from January 1, 2009, through December 31, 2009, and for any time in

  advance to prepare for the trial of cases, or as may be required to complete unfinished

  business . . .”, Misc. 23, was lawful.

         Defendant’s remedies, if any, to the Court’s rulings on these matters are through

  the appeals process, not through duplicative filings in this court, or preemptive filings for

  mandamus with the Tenth Circuit Court of Appeals. Defendant previously requested

                a writ of mandamus ordering Chief District Judge Claire V.
                Eagan and Judge Friot “to cease exercising Article III Judicial
                Power of the United States, including Jurisdiction and Venue,
                over Springer’s person and vicinage, in case number
                09-cr-043, in the Grand Jury Indictment dated March 10,
                2009, United States of America v. Lindsey Kent Springer,”
                because (1) Judge Friot is not a judge of the Northern District
                of Oklahoma; (2) since 2000, there has been no “Internal
                Revenue District” for Oklahoma, so that the Northern District
                of Oklahoma has no jurisdiction or venue to enforce the
                internal revenue code; and (3) the Internal Revenue Service
                Form 1040 for the years 2000-2007 violates the Paperwork
                Reduction Act.

                                               -14-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 15 of 16




  Tenth Circuit Order denying Defendant’s petition for writ of mandamus, doc. no. 256. As

  the Tenth Circuit stated in denying Defendant’s petition, “at the proper time, he may

  appeal his conviction and sentence.” Id. The proper time is not yet at hand.

  III.   Conclusion

         For the foregoing reasons, including those previously articulated in the previous

  pleadings filed in this case, Defendant Springer’s Motion to Disqualify, Recuse, Removal

  and Random Assignment should be denied.

                                            Respectfully submitted,

                                            THOMAS SCOTT WOODWARD
                                            ACTING UNITED STATES ATTORNEY


                                             /s/ Charles A. O’Reilly
                                            CHARLES A. O’REILLY, CBA NO. 160980
                                            Special Assistant U.S. Attorney
                                            KENNETH P. SNOKE, OBA NO. 8437
                                            Assistant United States Attorney
                                            110 West Seventh Street, Suite 300
                                            Tulsa, Oklahoma 74119
                                            (918) 382-2700




                                             -15-
Case 4:09-cr-00043-SPF Document 277 Filed in USDC ND/OK on 01/07/10 Page 16 of 16




                                CERTIFICATE OF SERVICE

         I hereby certify that on the 7 th day of January, 2010, I electronically transmitted the
  foregoing document to the Clerk of Court using the ECF System for filing and transmittal
  of a Notice of Electronic Filing to the following ECF registrants:

         Lindsey Kent Springer
         Defendant

         Oscar Amos Stilley
         Defendant

         Robert Williams
         Standby Counsel assigned to Lindsey Kent Springer

         Charles Robert Burton, IV
         Standby Counsel assigned to Oscar Amos Stilley.




                                              /s/ Charles A. O’Reilly
                                              Special Assistant U.S. Attorney




                                               -16-
